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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

SIMON TUSHA and
Jade Tusha, a minor,
              Plaintiffs,
                                                  Case No. 1:21-cv-00494-RGA
v.

PEDIATRIC ASSOCIATES, P.A.,
ANN M. MASCIANTONIO, M.D.,
               Defendants.


                                 NOTICE OF APPEARANCE

          PLEASE TAKE NOTICE that E. Calvin Harmon hereby enters his appearance on

 behalf of Plaintiffs Simon Tush and Jade Tusha, a minor.

 Dated: April 14, 2022                           Respectfully Submitted,

                                                  /s/ E. Calvin Harmon, Jr.
                                                 E. Calvin Harmon, Jr. (No. 2598)

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